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November 22, 2024


VIA ECF
Hon. Edgardo Ramos
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

     Securities and Exchange Commission v. Genesis Global Capital et al., 23-cv-287 (ER)

Dear Judge Ramos,

       This firm represents defendant Gemini Trust Company (“Gemini”). Pursuant to Rule 1.E
of the Court’s Individual Rules and Practices, we write jointly with plaintiff Securities and
Exchange Commission (the “SEC”) to respectfully request a 60-day extension of the deadline to
complete fact discovery, from December 19, 2024, to February 17, 2025. To accommodate the
proposed extension of fact discovery, the parties also request an adjournment of all subsequent
discovery deadlines by 60 days.

        Document discovery in this matter is nearly complete. To date, Gemini has made five
productions to the SEC, while the SEC has made three to Gemini—two of its own, and one
consisting of documents obtained by third-party subpoena to Genesis Global Capital. In addition,
the parties have engaged in several fruitful meet-and-confer sessions about the SEC’s objections
to Gemini’s document requests. As a result of these discussions, the SEC has agreed to search for
and produce additional responsive materials.

        Good cause exists to extend the current fact discovery deadline, including because Gemini
requires sufficient time to review the SEC’s forthcoming document production. Specifically,
Gemini anticipates that these documents will yield new information material to its defense in this
case, including the names of potential witnesses it may wish to depose.

       An amended Civil Case Discovery Plan and Scheduling Order reflecting the proposed
adjustments is attached hereto as Exhibit A. This is the parties’ second request to extend the
discovery deadlines in this case.

                                                    Respectfully submitted,
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  /s/ Edward J. Reilly______________               /s/ Andrew Bosse _______________
  Edward J. Reilly                                 Andrew Bosse

  Counsel for Plaintiff Securities and             Counsel for Defendant Gemini Trust
  Exchange Commission                              Company

cc:    All counsel of record




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